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                Exhibit C
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Archived: Wednesday, June 12, 2019 2:00:15 PM
From: Jeffrey Backman
Sent: Wednesday, June 05, 2019 12:58:37 PM
To: Patrick Peluso (ppeluso@woodrowpeluso.com)
Cc: Gregg Strock; 38541_0029 _Royal Seas Cruises_ Inc_ _ adv_ Brenda Bell_ 21_1 E_Mail
Subject: Bell v. Royal Seas (38541.0029) [IWOV-Active.FID12809539]
Sensitivity: Normal


Patrick, as you have now seen from my prior e-mail, your client not only consented to receive the telephone calls about which she now complains, but she
also agreed to arbitrate all disputes. In that regard, we intend to seek leave to amend Royal Seas’ Affirmative Defenses to include the class action waiver and
arbitration as a defense. In addition, we will be moving to compel arbitration. Please let us know your position on both requests.

Sincerely,

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